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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

               v.                                      C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


         DECLARATION AND CERTIFICATE OF JUDITH B. JENNISON, ESQ.

       I, Judith B. Jennison, being duly sworn, depose and say:

       1.      I am a partner in the law firm of Perkins Coie LLP, which is located at 1201 Third

Avenue, Suite 4900, Seattle, Washington 98101-3099, and have practiced law since 1991.

       2.      I am admitted to practice law in California, Washington, New Jersey, and the

District of Columbia and am a member in good standing of the bars of the State of California, the

State of Washington, the State of New Jersey, and the District of Columbia, as well as the U.S.

Court of Appeals for the Ninth Circuit, the U.S. District Court for the Northern District of

California, the U.S. District Court for the Eastern District of California, the U.S. District Court

for the Central District of California, the U.S. District Court for the Southern District of

California, the U.S. District Court for the District of New Jersey, the U.S. District Court for the

Eastern District of Texas, and the U.S. District Court for the Eastern District of Washington.

       3.      I have not previously had a pro hac vice admission to this court (or other

admission for a limited purpose under Local Rule 83.5) revoked for misconduct, and there are no

disciplinary proceedings pending against me in any jurisdiction.
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       4.      I have not been disciplined or denied admission by this Court or any other court.

       5.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

       I declare under penalty of perjury that the foregoing is true and correct this 7th day of

June, 2018.

                                              /s/ Judith B. Jennison_______
                                              Judith B. Jennison



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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